Case 4:10-cr-00078-ALM-KPJ Document 94 Filed 09/18/20 Page 1 of 3 PageID #: 267




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                Plaintiff,                         §
 v.                                                §
                                                   §     CRIMINAL ACTION NO. 4:10-CR-78
 ADAM JENNINGS,                                    §
                                                   §
                Defendant.                         §


                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, the Court having

 heretofore referred the request for the revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration.      The Court has received the Report and

 Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

 waived allocution before the Court as well as his right to object to the report of the Magistrate

 Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct.

        It is therefore ORDERED that the Report and Recommendation of United States

 Magistrate Judge is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

        It is further ORDERED that Defendant be committed to the custody of the Bureau of

 Prisons for a term of twelve (12) months of imprisonment, with a term of supervised release of

 forty-eight (48) months to follow.
Case 4:10-cr-00078-ALM-KPJ Document 94 Filed 09/18/20 Page 2 of 3 PageID #: 268




        The Court further recommends the imposition of the special conditions set forth in the

 Report and Recommendation, as follows: (1) You must provide the probation officer with access

 to any requested financial information for purposes of monitoring compliance with imposed

 computer restrictions and your ability to obtain and maintain lawful employment; (2) You must

 participate in a program of testing and treatment for drug abuse and follow the rules and regulations

 of that program until discharged. The probation officer, in consultation with the treatment

 provider, will supervise your participation in the program. You must pay any cost associated with

 treatment and testing; (3) You must participate in any combination of psychiatric, psychological,

 or mental health treatment programs, and follow the rules and regulations of that program, until

 discharged. This includes taking any mental health medication as prescribed by your treating

 physician. The probation officer, in consultation with the treatment provider, will supervise your

 participation in the program. You must pay any cost associated with treatment and testing; (4)

 You must participate in sex offender treatment services. These services may include psycho-

 physiological testing (i.e., clinical polygraph, plethysmograph, and the ABEL screen) to monitor

 your compliance, treatment progress, and risk to the community. You must abide by all rules and

 regulations of the treatment program, until discharged. The probation officer, in consultation with

 the treatment provider, will supervise your participation in the program. You must pay any costs

 associated with treatment and testing. Should you fail to pay as directed, you must perform 3 hours

 of community service for each unpaid session; (5) You must not have direct or indirect contact

 with children under the age of 18 unless supervised by an adult approved by the probation officer;

 (6) You must not possess or view any images in any form of media or in any live venue that depicts

 sexually explicit conduct. For the purpose of this special condition of supervision, the term

 “sexually explicit conduct” is as defined under 18 U.S.C. § 2256(2)(A) and is not limited to the



                                                  2
 Case 4:10-cr-00078-ALM-KPJ Document 94 Filed 09/18/20 Page 3 of 3 PageID #: 269




  sexual exploitation of children. You must provide the probation officer with access to any

  requested financial information to determine if you have purchased, viewed, or possessed sexually

  explicit material; (7) You must submit to a search of your person, property, house, residence,

  vehicle, papers, computer, other electronic communication or data storage devices or media, and

  effects at any time, with or without a warrant, by any law enforcement or probation officer with

  reasonable suspicion concerning unlawful conduct or a violation of your conditions of supervision;

  (8) You must not purchase, possess, have contact with, or use devices to include cellular telephones

  with photographic capability; cellular telephones with internet capability; laptop computers (other

  than a computer approved by the probation office which may be subject to monitoring); iPods;

  Personal Digital Assistants (PDAs); portable data storage devices such as thumb drives and Flash

  memory; or any other type of portable electronic device that is capable of communicating data via

  modem, wireless, or dedicated connection. You must also refrain from the purchase, possession,

  or use of digital cameras; digital recorders; or any other type of recording and/or photographic

  equipment. You must also refrain from the purchase, possession, or use of digital cameras; digital

  recorders; or any other type of recording and/or photographic equipment; (9) You must not possess

  or consume alcoholic beverages; (10) You must reside in a Residential Reentry Center or similar

  facility, in a prerelease component, for a period of 180 days to commence upon release from

  confinement and must observe the rules of that facility. Should you obtain a residence approved
. by the probation officer during the 180-day placement, you shall be released.

          The Court also recommends that Defendant be housed at a Bureau of Prisons facility in the

  North Texas area, if appropriate.

          IT IS SO ORDERED.
          SIGNED this 18th day of September, 2020.



                                                   3
                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
